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 1   THE STATE OF CALIFORNIA
 2   XAVIER BECERRA
     Attorney General of California
 3   GERALD A. ENGLER
 4   Chief Assistant Attorney General
     SARALYN M. ANG-OLSON
 5   Senior Assistant Attorney General
 6   NICHOLAS P. PAUL
     Supervising Deputy Attorney General
 7
     ERIKA HIRAMATSU (CA Bar No. 190883)
 8   Deputy Attorney General
 9         Bureau of Medi-Cal Fraud & Elder Abuse
           Office of the Attorney General
10         1615 Murray Canyon Rd
11         Suite 700
           San Diego, CA 92186-5266
12
           Telephone: (619) 358-1002
13         Email: Erika.Hiramatsu@doj.ca.gov
14
     THE STATE OF COLORADO
15   PHILIP J. WEISER
16   Attorney General
     GEORGE A. CODDING (Colo. Reg. # 18750)
17   Senior Assistant Attorney General
18   (admitted pro hac vice)
     Email: george.codding@coag.gov
19
           Medicaid Fraud Control Unit
20         1300 Broadway, 9th Floor
21         Denver, CO 80203
           Telephone: (720) 508-6696
22         Fax: (720) 508-6034
23
     THE STATE OF INDIANA
24
     LAWRENCE J. CARCARE II
25   Deputy Attorney General
26   Indiana Attorney No. 18557-49
     (admitted pro hac vice)
27         Office of the Indiana Attorney General
28         Medicaid Fraud Control Unit
           8720 Castle Creek Parkway East Drive, Suite 250
           Indianapolis, IN 46250-1946
 Case 2:13-cv-05861-JLS-AJW Document 117 Filed 07/08/20 Page 2 of 10 Page ID #:1356




 1         Telephone: (317) 915-5319
           Fax: (317) 232-7979
 2
           Email: Lawrence.Carcare@atg.in.gov
 3
     THE STATE OF MINNESOTA
 4
     NOAH LEWELLEN (Attorney Reg. No. 0397556)
 5   (admitted pro hac vice)
     Office of the Assistant Attorney General
 6
           445 Minnesota Street, Suite 1200
 7         St. Paul, MN 55101-2127
           Telephone: 651-724-9945
 8
           Email: Noah.Lewellen@ag.state.mn.us
 9
10   THE STATE OF NEW YORK
     LETITIA JAMES
11   Attorney General of New York
12   DAVID G. ABRAMS
     Special Assistant Attorney General
13   N.Y. Bar No. 4615514
14   (admitted pro hac vice)
           New York State Office of the Attorney General
15         Medicaid Fraud Control Unit
16         28 Liberty Street, 13th Floor
           New York, New York 10005
17         Telephone: (212) 417-5300
18         Fax: (212) 417-5335
           Email: David.Abrams@ag.ny.gov
19
20   THE STATE OF NORTH CAROLINA
     JOSHUA H. STEIN
21   Attorney General of North Carolina
22   LAREENA J. PHILLIPS (N.C. Bar No. 36859)
     Special Deputy Attorney General
23   (admitted pro hac vice)
24   Email: lphillips@ncdoj.gov
           5505 Creedmoor Road, Suite 300
25         Raleigh, NC 27612
26         Telephone: 919-881-2320
           Fax: 919-571-4837
27
28
                                              2
 Case 2:13-cv-05861-JLS-AJW Document 117 Filed 07/08/20 Page 3 of 10 Page ID #:1357




 1   COMMONWEALTH OF VIRGINIA
     MATTHEW G. HOWELLS (VSB No. 88167)
 2
     Assistant Attorney General
 3   (admitted pro hac vice)
     Email: mhowells@oag.state.va.us
 4
     CANDICE M. DEISHER
 5   Assistant Attorney General (VSB No. 75006)
     (admitted pro hac vice)
 6
     Email: cdeisher@oag.state.va.us
 7         Office of the Attorney General
           202 North 9th Street
 8
           Richmond, Virginia 23219
 9         Telephone: (804) 786-6547
10                            UNITED STATES DISTRICT COURT
11
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13                                 WESTERN DIVISION
14   UNITED STATES OF AMERICA; the                No. CV 13-5861 JLS (AJWx)
15   STATES of CALIFORNIA, DELAWARE,
     FLORIDA, GEORGIA, HAWAII,                    INTERVENING STATES’
16   ILLINOIS, INDIANA, LOUISIANA,                STATUS REPORT
17   MICHIGAN, MINNESOTA, MONTANA,
     NEVADA, NEW HAMPSHIRE, NEW
18   JERSEY, NEW MEXICO, NEW YORK,
19   NORTH CAROLINA, OKLAHOMA,
     RHODE ISLAND, TENNESSEE, TEXAS,
20   and WASHINGTON; COMONWEALTHS
21   of MASSACHUSETTS and VIRGINIA,
     and the DISTRICT OF COLUMBIA ex rel.
22   MARIA GUZMAN,
23
                Plaintiffs,
24
                       v.
25
26   INSYS THERAPEUTICS, INC.;
     MICHAEL BABICH, an individual; ALEC
27   BURLAKOFF, an individual; and DOES 1
28
                                            3
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 1   through 15,
 2                 Defendants.
 3
 4
 5   UNITED STATES OF AMERICA ex rel.           No. CV 14-3488 JLS (AJWx)
     JOHN DOE and ABC, LLC,
 6
                   Plaintiffs,
 7
 8                        v.
 9   INSYS THERAPEUTICS, INC.; ALEC
10   BURLAKOFF; and MICHAEL L.
     BABICH,
11
                   Defendants.
12
13
14   UNITED STATES OF AMERICA ex rel.           No. CV 14-9179 JLS (AJWx)
15   TORGNY ANDERSSON,
16                 Plaintiffs,
17                        v.
18
     INSYS THERAPEUTICS, INC.,
19
20                 Defendant.

21
22
     UNITED STATES OF AMERICA ex rel.           No. CV 16-2956 JLS (AJWx)
23   ALLISON ERICKSON and SARA
24   LUEKEN,

25                 Plaintiffs,
26                        v.
27
     INSYS THERAPEUTICS, INC.,
28
                                            4
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 1                Defendant.
 2
 3    UNITED STATES OF AMERICA ex rel.                 No. CV 16-7937 JLS (AJWx)
      JANE DOE and the States of
 4
      CALIFORNIA, COLORADO,
 5    CONNECTICUT, DELAWARE,
      FLORIDA, GEORGIA, HAWAII,
 6
      ILLINOIS, INDIANA, IOWA,
 7    LOUSIANA, MARYLAND,
 8    MASSACHUSETTS, MICHIGAN,
      MINNESOTA, MONTANA, NEVADA,
 9    NEW JERSEY, NEW MEXICO, NEW
10    YORK, NORTH CAROLINA,
      OKLAHOMA, RHODE ISLAND,
11    TENNESSEE, TEXAS, VERMONT,
12    VIRGINIA, WASHINGTON, the CITY
      OF CHICAGO, and the DISTRICT OF
13    COLUMBIA,
14                Plaintiffs,
15
                         v.
16
      INSYS THERAPEUTICS, INC. and
17    LINDEN CARE LLC,
18
                  Defendants.
19
20
           Pursuant to this Court’s Order dated June 11, 2020, the Intervening States of
21
     California, Colorado, Indiana, Minnesota, New York, North Carolina, and the
22
     Commonwealth of Virginia (“Intervening States”), by their attorneys, respectfully submit
23
     this report to the Court and the parties in these consolidated actions.
24
           On August 9, 2018, the United States advised the Court that it and defendant Insys
25
     Therapeutics, Inc. (“Insys”) had reached a tentative settlement-in-principle. On June 5,
26
     2019, the United States and Insys executed a settlement agreement regarding the United
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 1   States’ claims against Insys in these actions. The Intervening States were not parties to
 2   the settlement agreement.
 3         On June 10, 2019, Insys and related entities filed for bankruptcy in the United States
 4   Bankruptcy Court for the District of Delaware. In re Insys Therapeutics, Inc., No. 19-
 5   11292-KG (filed June 10, 2019) (“Bankruptcy Action”). On January 16, 2020, the
 6   Bankruptcy Court entered an order approving Insys’ Second Amended Plan of
 7   Liquidation. The Plan of Liquidation includes a category for State claims defined as “any
 8   [c]laim against the Debtors held by a Governmental Unit that is a State or Commonwealth
 9   of the United States for, among other things, consumer fraud, deceptive practices, [and]
10   false claims . . . ”. [Del. Bankr., D.I. 1115-1]. The Intervening States’ claims fall within
11   this category of claims pursued in the Bankruptcy Action.
12         On June 11, 2020, the United States was dismissed from this action and this Court
13   ordered that all claims brought by or on behalf of the Intervening States and Relators
14   against Insys in these actions pursuant to 31 U.S.C. §§ 3729-33, including claims under
15   31 U.S.C. § 3730(d)(1) and § 3730(h) remain stayed until further order of this Court.
16         The bankruptcy Plan of Liquidation states that no Distribution shall be made to
17   holders of allowed State claims until a pro rata share is determined in accordance with the
18   Plan of Liquidation. Currently, it is the understanding of the Intervening States that the
19   Trustee is working to determine whether there are funds available for distribution to the
20   states, municipalities, and tribes pursuant to the Plan of Liquidation and that there has not
21   yet been an allocation of Insys’ remaining funds or assets for distribution under the Plan
22   of Liquidation. The bankruptcy docket notes a number of postponements of submission
23   deadlines, and new developments regarding assessment of available funds likely will not
24   happen until the fall.
25         The Intervening States will file a status report within 90 days of this report, or as
26   events may make such a further report necessary or desirable.
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 1                                          Respectfully submitted,
 2
                                            THE STATE OF CALIFORNIA
 3
                                            XAVIER BECERRA
 4                                          Attorney General of California
                                            GERALD A. ENGLER
 5
                                            Chief Assistant Attorney General
 6                                          SARALYN M. ANG-OLSON
                                            Senior Assistant Attorney General
 7
                                            NICHOLAS P. PAUL
 8                                          Supervising Deputy Attorney General
 9
10                                          By: /S/
                                            Erika Hiramatsu
11
                                            Deputy Attorney General
12                                          CA Bar No. 190883
13                                          Bureau of Medi-Cal Fraud & Elder Abuse
                                            Office of the Attorney General
14                                          PO Box 85266
15                                          San Diego, CA 92186-5266
                                            Telephone: (619) 358-1002
16                                          Email: Erika.Hiramatsu@doj.ca.gov
17
                                            THE STATE OF COLORADO
18                                          Philip J. Weiser
19                                          Attorney General of Colorado

20
21                                          By: /S/
                                            George A. Codding, Colo. Reg. # 18750
22                                          Senior Assistant Attorney General
23                                          (admitted pro hac vice)
                                            Medicaid Fraud Control Unit
24                                          1300 Broadway, 9th Floor
25                                          Denver, CO 80203
                                            Telephone: (720) 508-6696
26                                          Fax: (720) 508-6034
27                                          Email: george.codding@coag.gov

28
                                            7
 Case 2:13-cv-05861-JLS-AJW Document 117 Filed 07/08/20 Page 8 of 10 Page ID #:1362




 1
 2
                                            THE STATE OF INDIANA
 3
 4
                                            By: /S/
 5                                          Lawrence J. Carcare II
                                            Deputy Attorney General
 6
                                            Indiana Attorney No. 18557-49
 7                                          (admitted pro hac vice)
                                            Office of the Indiana Attorney General
 8
                                            Medicaid Fraud Control Unit
 9                                          8720 Castle Creek Parkway East Drive,
                                            Suite 250
10
                                            Indianapolis, IN 46250-1946
11                                          Telephone: (317) 915-5319
12                                          Fax: (317) 232-7979
                                            Email: Lawrence.Carcare@atg.in.gov
13
14                                          THE STATE OF MINNESOTA

15
16                                          By: /S/
                                            Noah Lewellan
17                                          Assistant Attorney General
18                                          Attorney Reg. No. 0397556
                                            445 Minnesota Street, Suite 900
19                                          St. Paul, MN 55101-2127
20                                          Telephone: 651-724-9945
                                            Email: noah.lewellan@ag.state.mn.us
21
22                                          THE STATE OF NEW YORK
                                            LETITIA JAMES
23                                          Attorney General of New York
24
25                                          By: /S/
26                                          David G. Abrams
                                            Special Assistant Attorney General
27                                          N.Y. Bar No. 4615514
28                                          (admitted pro hac vice)

                                            8
 Case 2:13-cv-05861-JLS-AJW Document 117 Filed 07/08/20 Page 9 of 10 Page ID #:1363




 1                                          New York State Office of the Attorney
                                            General
 2
                                            Medicaid Fraud Control Unit
 3                                          28 Liberty Street, 13th Floor
                                            New York, New York 10005
 4
                                            Telephone: (212) 417-5300
 5                                          Fax: (212) 417-5335
                                            Email: David.Abrams@ag.ny.gov
 6
 7                                          THE STATE OF NORTH CAROLINA
                                            JOSHUA H. STEIN
 8
                                            Attorney General of North Carolina
 9
10
                                            By: /S/
11                                          Lareena J. Phillips
12                                          Special Deputy Attorney General
                                            N.C. Bar No. 36859
13                                          (admitted pro hac vice)
14                                          5505 Creedmoor Road, Suite 300
                                            Raleigh, NC 27612
15                                          Telephone: 919-881-2320
16                                          Fax: 919-571-4837
                                            Email: lphillips@ncdoj.gov
17
18                                          COMMONWEALTH OF VIRGINIA

19
20                                          By: /S/
                                            Matthew G. Howells
21                                          Assistant Attorney General
22                                          VSB No. 88167
                                            (admitted pro hac vice)
23                                          Office of the Virginia Attorney General
24                                          202 North 9th Street
                                            Richmond, Virginia 23219
25                                          Telephone: (804) 786-6547
26                                          Email: mhowells@oag.state.va.us

27
28
                                            9
     Case 2:13-cv-05861-JLS-AJW Document 117 Filed 07/08/20 Page 10 of 10 Page ID
                                       #:1364



 1                                                 By: /S/
                                                   Candice M. Deisher
 2
                                                   Assistant Attorney General
 3                                                 VSB No. 75006
                                                   (admitted pro hac vice)
 4
                                                   Office of the Virginia Attorney General
 5                                                 202 North 9th Street
                                                   Richmond, Virginia 23219
 6
                                                   Telephone: (804) 371-6017
 7                                                 Email: cdeisher@oag.state.va.us
 8
 9                                           Attestation
10         I hereby attest that the other signatories listed, on whose behalf the filing is
11   submitted, concur in the filing’s content and have authorized the filing.
12         Dated: July 8, 2020
13
14                                                 /S/
                                                   Lareena J. Phillips
15
                                                   Special Deputy Attorney General
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 10
